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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

X
ln Re: Chapter 7
Darnianos Loizou and Karen S. Schmermund Case No. 818-78265-A736
a/k/a Karen S. Loizou,
Debtor.
__________________________________________________________ X

Application in Support of Order Authorizing Retention of
Weinber,q, Gross & Per;zament LLP as Attornevs for Trustee

TO: The Honorable Robert E. Grossrnan,
United States Banl<nlptcy Judge

The Application of Marc A. Pergament, Trustee of the Debtor herein, respectfully
represents as folloWs:

l. On or about December 7, 2018, the Debtor filed a petition under Chapter 7
of the Banl<ruptcy Code. l\/larc A. Pergarnent Was appointed lnterim Trustee, duly qualified and has
acted in said capacity.

2. Pursuant to Section 327 of the Banl<ruptcy Code and Local Rule 18, the
Trustee has selected and, subject to this Court’s approval, authorized the employment of the lirrn of
Weinberg, Gross & Pergarnent LLP (“Weinberg, Gross”) as his counsel to represent him and assist
him in connection With this Chapter 7 case.

3. The Trustee has selected said attorneys because they have had experience in
Chapter 7 cases, and the Trustee believes that said firm of attorneys is Well qualified to represent
him in this case.

4. The professional services Which said attorneys are to render are the general

representation of the Trustee in this case under Title ll, United States Code, and the performance of

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such legal services for him Which may be necessary herein, including the sale of the Estate’s right,
title and interest in the Debtor’s real property and pursuing the recovery of fraudulent conveyances

5 . The Trustee will require the services of at least one attorney to perform such
legal services Which may be necessary herein

6. To the best of the Trustee’s knowledge, information and belief, Weinberg,
Gross has no connection with the Debtor, their creditors or any other party in interest or their
respective attorneys or accountants

7. To the best of the Trustee’s knowledge, information and belief, Weinberg,
Gross does not hold or represent any interest adverse to the Debtor or their Estate and is a
disinterested person under Section lOl of the Bankruptcy Code.

8. The Trustee desires to retain Weinberg, Gross under a general retainer
because of the extensive legal services that Will be required

9. The employment of said attorneys Would be in the best interest of this Estate.

lO. No previous application for the relief requested herein has been made in this
or any other court.

WHEREFORE, the Trustee respectfully requests that it be authorized to employ
and retain the firm of Weinberg, Gross & Pergament LLP, under a general retainer, to represent
him in this case under Chapter 7 of the Bankruptcy Code, and that he have such other and further
relief as this Court may deem just.

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Dated: Garden City, New York /_

January 15, 2019 L/W

Marc A. Pergament, 'l`rustee

 

